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September 11, 2023

Christopher M. Wolpert
Clerk of the Court
U.S. Court of Appeals for the Tenth Circuit
The Byron White U.S. Courthouse
1823 Stout Street
Denver, CO 80257

Re:     Menocal v. The GEO Group, Inc., No. 22-1409
        Notice of Supplemental Authority under Fed. R. App. P. 28(j)

Dear Mr. Wolpert:
        We write to provide the D.C. Court of Appeals’ recent decision in Zakka v.
Palladium International, LLC, which explains that the Yearsley defense applies only when the
government “specifically” “directed [the defendant] to perform the tortious act itself.”
298 A.3d 319, 328 (D.C. 2023). Joining the chorus of federal appellate courts to have come
to the same conclusion, D.C.’s high court held: “Mere governmental acceptance or
approval of a tortious act will not suffice to vest a government contractor with derivative
sovereign immunity if the government did not actually direct the contractor to commit
the tort.” Id. Or, put another way, the Yearsley defense does not shield contractors from
liability for violating the law if they “‘could have abided by’” the law “‘while
implementing the agency’s specifications.’” Id. at 328 n.23 (quoting In re World Trade Ctr.
Disaster Site, Litig., 521 F.3d 169, 197 (2d Cir. 2008)).
       For this reason, Zakka held that the Yearsley defense did not shield a government
contractor from liability for endangering the plaintiff by sending him to Iran, because
even though the State Department specifically “authorized” the contractor to do so, it did
not require it. Id. at 332. Because the contractor’s choice was its own, not the government’s,
Yearsley did not apply.
      Contrary to GEO’s contention, this approach is not an outlier: The D.C. Court
of Appeals relied on decisions from six federal circuits that have reached similar
conclusions. See id. at nn. 17–28.
                                                            Respectfully submitted,
                                                            /s/ Jennifer D. Bennett
                                                            Jennifer D. Bennett
                                                            Counsel for Plaintiffs-Appellees
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                                                               [2]     United States       Derivative immunity;
                       298 A.3d 319
                                                                       contractors
          District of Columbia Court of Appeals.
                                                                       So-called “derivative” sovereign immunity,
                                                                       unlike the sovereign's, is not absolute; it applies
            Nizar ZAKKA, Appellant,
                                                                       only when a contractor takes actions that are
                      v.                                               authorized and directed by the Government of
        PALLADIUM INTERNATIONAL,                                       the United States, and performed pursuant to
         LLC and Edward Abel, Appellees.                               the Act of Congress authorizing the agency's
                                                                       activity.
                     No. 21-CV-0690
                             |
                  Argued October 20, 2022                      [3]     United States       Derivative immunity;
                             |                                         contractors
                   Decided July 27, 2023                               A contractor must adhere to the government's
                                                                       instructions to enjoy derivative sovereign
Synopsis                                                               immunity; staying within the thematic umbrella
Background: Plaintiff, who was seized and detained in                  of the work that the government authorized is
Iran while traveling to attend conference in connection                not enough to render the contractor's activities
with project funded by United States State Department and              immune from suit.
managed by contractor, brought action against contractor for
negligence and intentional infliction of emotional distress.
The Superior Court, Pan, Circuit Judge, granted motion to
                                                               [4]     United States       Derivative immunity;
dismiss for lack of subject matter jurisdiction and granted
                                                                       contractors
summary judgment to contractor in the alternative. Plaintiff
appealed.                                                              Under the doctrine of derivative sovereign
                                                                       immunity, where the government does not
                                                                       dictate exactly how the contractor is to carry
                                                                       out its tasks or substantially constrain the
[Holding:] The Court of Appeals, Glickman, Senior Judge,               contractor's exercise of discretion in performing
held that fact questions precluded summary judgment on issue           its authorized responsibilities, the contractor
of derivative sovereign immunity.                                      generally is not immune from suit for how it
                                                                       exercises that discretion.

Reversed and remanded.

                                                               [5]     United States       Derivative immunity;
                                                                       contractors
 West Headnotes (11)                                                   A contractor might avail itself of the
                                                                       government's derivative immunity only where
 [1]    United States       Necessity of waiver or                     it acts pursuant to specific directions from the
        consent                                                        government.

        The United States government itself is immune
        from suit in the courts of the United States except
        when, and to the extent that, it has expressly         [6]     United States       Contractors in general;
        waived its common law sovereign immunity and                   strict control test
        consented to be sued.                                          A contractor claiming derivative sovereign
                                                                       immunity from liability for a tortious act
                                                                       must establish that the government specifically




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        authorized and directed it to perform the tortious             measures to protect him on trip, thus precluding
        act itself.                                                    summary judgment for contractor on ground of
                                                                       derivative sovereign immunity in individual's
                                                                       suit for negligence and intentional infliction of
 [7]    United States       Contractors in general;                    emotional distress.
        strict control test
        Mere governmental acceptance or approval of a
        tortious act will not suffice to vest a government
        contractor with derivative sovereign immunity
                                                                *320 Appeal from the Superior Court of the District of
        if the government did not actually direct the
                                                               Columbia (2020-CA-004591-B), (Hon. Florence Y. Pan, Trial
        contractor to commit the tort, nor does it suffice
                                                               Judge)
        for a contractor to show only that the tortious
        act was within the scope of the activity that the      Attorneys and Law Firms
        government authorized and directed it to do.
                                                               Adam H. Farra, with whom Richard Leveridge and Rachel
                                                               Jennings were on the brief, for appellant.
 [8]    United States       Derivative immunity;
                                                               Benjamin S. Boyd, with whom Mary E. Gately, Paul D.
        contractors
                                                               Schmitt, Washington, DC, and Sean Croft, New York, NY,
        Derivative sovereign immunity is not a limitation      were on the brief, for appellees.
        on the court's subject matter jurisdiction; it is an
        affirmative defense that must be pleaded by a          John Paul Schnapper-Casteras filed a brief on behalf of
        defendant and supported by the record before the       law professors Danielle Keats Citron, New York, NY, Kate
        court.                                                 Sablosky Elengold, Jonathan Glater, Andrew Hessick, and
                                                               David Rubenstein as amicus curiae in support of appellant.

                                                               Before Deahl and AliKhan, Associate Judges, and
 [9]    Appeal and Error          De novo review
                                                               Glickman,* Senior Judge.
        The Court of Appeals reviews a trial court's grant
        of a motion for summary judgment de novo.              Opinion

                                                               Glickman, Senior Judge:
 [10]   Appeal and Error          Summary Judgment
                                                               In connection with an economic and civil society
        In reviewing a trial court's grant of a motion
                                                               development project funded by the U.S. State Department and
        for summary judgment, the Court of Appeals
                                                               managed by appellee Palladium International, LLC, appellant
        may not defer to the Superior Court's view of
                                                               Nizar Zakka traveled to Iran in September 2015 to attend
        the evidence; rather, the Court of Appeals must
                                                               a conference. At the end of his planned visit, as he was
        construe the record in a light favorable to the
                                                               on his way to the Tehran airport to fly home, Zakka was
        party seeking to avoid summary disposition.
                                                               seized and detained. He spent the next four years in an
                                                               Iranian prison. After he regained his freedom, Zakka sued
                                                               Palladium and Edward Abel, the president of Palladium's U.S.
 [11]   Summary Judgment             Public contracts          business unit, in the District of Columbia Superior Court.
        United States       Trial, judgment, and relief        Zakka's complaint asserted causes of action for negligence
        Fact questions existed regarding whether United        and intentional infliction of emotional distress. These claims
        States State Department authorized and directed        were based on allegations that Palladium failed to warn Zakka
        contractor to send individual to Iran and whether      of the “acute, peculiar, and unreasonable risks” he ran in
        it authorized and directed contractor to do            going to Iran due to his association with Palladium, and that
        so without warning individual of risks to his          Palladium failed to take reasonable and foreseeably necessary
        safety or taking appropriate precautions and           precautionary measures to protect Zakka from those risks.



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                                                                    the Cooperative Agreement, Palladium would undertake to
Appellees moved to dismiss the complaint for lack of subject        achieve these objectives through online and third-country
matter jurisdiction pursuant to Superior Court Civil Rule           training (i.e., through activities conducted outside of Iran),
12(b)(1). They asserted that, under a line of cases stemming        and by service contracts with Iranian and regional civil
from the Supreme Court's decision in *321 Yearsley v. W.A.          society organizations for initiatives carried out inside Iran and
Ross Construction Company,1 they were entitled to derivative        elsewhere in the region.
sovereign immunity from suit because the complaint was
based on conduct authorized by the United States pursuant           Palladium explained to the State Department in its application
to the State Department's agreement with Palladium. The             for the WAVE II project award that its own staff would be
Superior Court granted the motion to dismiss for lack of            unable to travel to Iran to observe activities there “[d]ue to
subject matter jurisdiction on this ground. In the alternative,     access and security considerations” and “the sensitive nature
the judge concluded that if derivative sovereign immunity is        of the project.” Palladium would need to “maintain a low
not jurisdictional in nature, but rather is simply an affirmative   profile” so that “Iranian beneficiaries [would not be] put at
defense to liability, appellees were entitled to summary            additional risk due to being identified as recipients of U.S.
judgment based on that defense.                                     government funding.” Consequently, any “project-supported
                                                                    activities in Iran” and any “[c]ommunication with Iranian
On appeal, Zakka argues that the judge erred in each of             beneficiaries” had to be “solely” through Palladium's regional
those rulings. First, he contends that Yearsley immunity is not     partners, without disclosure of Palladium's own involvement,
jurisdictional. We agree with him; the derivative immunity          in order to “maintain the safety of the beneficiaries and
is a qualified immunity that does not deprive the court of          program staff.” Palladium also stated in its application that
subject matter jurisdiction, but only furnishes the defendant       it would “produce a comprehensive set of Security Standard
with an affirmative defense. Second, Zakka argues that the          Operating Procedures” for the project that “could include”
judge misapplied the Yearsley defense in granting summary           such measures as “security training and regular *322
judgment to appellees. We agree with him on that, too;              briefings for all staff,” “[e]ffective transport and movement
appellees were not entitled to summary judgment because             plans,” “[p]ersonal and accommodation security measures,”
they did not demonstrate the absence of a material dispute of       and “[a] robust crisis management plan including appropriate
fact as to whether the State Department had authorized and          response options.”
directed Palladium to commit the allegedly tortious conduct
at issue in this case. We therefore vacate the judgment and         Palladium advised the State Department that one of the
remand for further proceedings.                                     regional partners it would rely on to implement the
                                                                    Cooperative Agreement would be IJMA3, “a well-established
                                                                    regional ICT association with networks across the Arab
                                                                    world, Iran and the United States.” IJMA3 would “take the
I. Factual Background                                               lead in all WAVE Alliance building and IT-related activities”
                                                                    and “all in-country coordination” under the daily guidance of
The trial court's rulings are predicated on the following
                                                                    Palladium's WAVE Program Director. Appellant Zakka was
facts, which we take to be undisputed for present purposes
                                                                    a founding member and senior official of IJMA3, and the
unless we indicate otherwise. In 2015, the U.S. State
                                                                    chief executive officer of its sister organization, IJMA3-USA.
Department granted an unsolicited application by Palladium
                                                                    IJMA3 and Zakka previously had provided assistance to the
(then known as Futures Group International, LLC) for a
                                                                    Women's Alliance for Virtual Exchange under an agreement
federal financial assistance award. This award, as set forth
                                                                    between the State Department and a former State Department
in a Cooperative Agreement between Palladium and the
                                                                    grantee.
State Department, provided federal funding for Palladium
to support the “Women's Alliance for Virtual Exchange
                                                                    The State Department's Cooperative Agreement with
(WAVE II)” network in Iran. The stated objectives of this
                                                                    Palladium included provisions relating to Palladium's
eight-month project were to “engage Iranian women's CSOs
                                                                    budgetary, reporting, and pre-approval obligations, to ensure
[civil society organizations] in using ICT [information and
                                                                    that federal funds were used only for authorized activities,
communications technology] as a tool to develop their
                                                                    and to enable the State Department to monitor and evaluate
organizations, build alliances with international and regional
                                                                    Palladium's performance. The agreement stated that “[t]he
organizations, and have their voices heard.” According to


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Department of State's involvement in the operation of this
project is considered to be substantial” and called for the          Regarding the travel request referenced in the email
State Department's “concurrence with” Palladium's Work               below, travel authorization is granted for the individuals
Plans and “prior approval by the Grants Officer of all               below with the understanding that they will be traveling
travel details (destination, number of participants, number of       with documents issued by their respective governments,
trips).” Palladium was required to “consult with the Grants          and none of which are US. Please note that this travel
Officer to ensure that all proposed travel is documented             authorization is issued for Palladium in accordance with
accordingly and that sufficient funds exist in the budget            the provisions of award. Authorization by US government
for such activities.” However, among other limitations, the          personnel for travel does not supersede travel warnings
agreement specified that State Department representatives did        issued by the USG for the destination country. US
not have the authority to “interfere[ ] with [Palladium]’s right     government travel warnings can be found at http://
to perform the terms and conditions of the award” or supervise       www.state.gov/travel/.
Palladium's employees. Acknowledging the security concerns
                                                                     This travel is not required under the terms of the project, but
associated with the project, the agreement stated in general
                                                                     is undertaken at the organization's and traveler's own risk.
terms that Palladium would “keep a strict communication
                                                                   This approval allowed Palladium to use federal funds
protocol,” that “[v]etting is obligatory for anyone who takes
                                                                   awarded for the WAVE II project to send Zakka and the other
part in this project,” that access to project documents would
be restricted, and that Palladium would “work closely with”        identified individuals to the conference in Tehran.2 So far as
the State Department and the Grants Officer Representative         appears, no representative of the State Department discussed
“regarding any project concerns whether programmatic or            security arrangements for the travel to Tehran with Palladium.
security related.” However, the agreement did not require
Palladium to implement or follow any particular security           After the conference ended on September 18, Zakka took a
procedures for safe travel to Iran, to provide any warnings in     taxi to the Tehran airport to fly home. While en route, the
connection with anticipated travel to Iran, or to obtain State     taxi was stopped by two unmarked vehicles. Unidentified
Department approval of its arrangements for the safety and         men (allegedly, members of the Iranian Revolutionary Guard
security of travel-related activities.                             Corps) emerged from the vehicles, pulled Zakka from his
                                                                   taxi, blindfolded him, and abducted him. The men took
The Work Plan that Palladium submitted to the State                Zakka to Evin prison in Tehran, where he was held, largely
Department after being awarded funding for the WAVE II             incommunicado, for the next four years. During that time,
project included a tentative calendar of events. Among the         Zakka endured brutal conditions and long periods of solitary
planned activities, the Plan listed a women's group conference     confinement. He was routinely beaten, starved, tortured, and
scheduled to take place in Iran in September 2015. Palladium       threatened with imminent execution. His health deteriorated
proposed to send attendees to that conference to participate       drastically. And he was subjected to prolonged and repeated
in “events to sustain the WAVE alliance.” Palladium's Work         interrogations regarding his work with Palladium and its
Plan did not address travel safety or security arrangements.       supposed activities on behalf of Iran's enemies to subvert
On June 1, 2015, the State Department approved the proposed        the Iranian government and meddle in Iran's internal affairs.
Work Plan without any changes and without addressing any           Eventually, Zakka was put on trial and convicted of spying,
security matters. Three months later, on August 31, 2015,          cooperating with an enemy government, and other crimes
Palladium's WAVE Program Director Nadia Alami sent an              supposedly related to his involvement with Palladium.
email to the Grants Officer Representative requesting “travel
and country clearance” for Zakka and other IJMA3 personnel         Zakka was released from prison and allowed to leave Iran in
to attend the conference, which would be held in Tehran from       June 2019. By then, he was an ill and broken man.
 *323 September 15-18. This request also did not address any
matters of safety or security.                                      *324 In his lawsuit against Palladium and Abel, Zakka
                                                                   claims that they knew but failed to warn him that his trip
The Grants Officer Representative, Shervin Hadjilou,               to Tehran would expose him to heightened and unique risks
responded with an unclassified email approving the travel          (including the risks of abduction and imprisonment) due to his
request. The email stated:                                         association with Palladium, and that they knowingly failed to
                                                                   take reasonable and customary precautions and measures to
                                                                   protect him from those risks. Specifically, Zakka's complaint


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alleges that “Palladium knew but did not disclose that the Iran   the government, the approval of the government, and within
program could be perceived (incorrectly) by certain elements      the scope of the contract,” the contractor “would be entitled
within the Iranian government as a pretextual effort to subvert   to” immunity. Therefore, *325 the judge reasoned, if “this
the Iranian political order, and that anyone associated with      particular trip was authorized by the Grants Officer as the
such an effort could therefore be targeted for wrongful           contract directs, then derivative sovereign immunity would
imprisonment and other forms of retaliation.” Palladium also      apply .... because the contract specifically says that the State
allegedly knew but did not disclose that this risk was “more      Department has to approve all of the travel details.” That
acute” because “certain hardline elements within the Iranian      would be the result, the judge said, even if the authorization
government viewed Palladium as a proxy of Iran's adversaries      “doesn't talk about how [Palladium is] going to address
(the United States, the Arab Gulf States)” and therefore would    security.”
treat persons associated with the WAVE II project as “agents
of those adversaries.” While Palladium's application for the      The judge thereupon held the motion to dismiss in abeyance
WAVE II project award had acknowledged the security risks         and ordered the parties to conduct targeted discovery to
to the State Department, it allegedly provided Zakka “with        determine whether the State Department had authorized
no security training, no security detail, no driver in Iran, no   Zakka's trip to Tehran.6 The judge also set a schedule for
meaningful security protocol, and no precautions at all to        the parties to submit supplemental briefing on the immunity
protect” him.3                                                    issue.

                                                                  In their supplemental briefs, the parties disagreed as to the
                                                                  proper procedure for reviewing the motion to dismiss. Zakka
II. The Proceedings on Appellees’ Motion to Dismiss
                                                                  asked the court to convert the motion to one for summary
Palladium and Abel moved to dismiss the complaint on              judgment, with review governed by Superior Court Civil
several grounds, only one of which is before us now.              Rule 56, given the parties’ reliance on evidence outside the
Appellees argued that they were entitled to invoke the United     pleadings for the court's consideration. Palladium and Abel
States government's sovereign immunity from suit based            took the position that the court should review the motion
on the Supreme Court's holding in Yearsley v. W.A. Ross           pursuant to Superior Court Civil Rule 12(b)(1) because
                                                                  the derivative immunity they asserted was a “jurisdictional
Construction Company.4 As we discuss more fully below,
                                                                  defense.”
Yearsley involved a private lawsuit against a government
contractor for property damage from construction work that
                                                                  On September 15, 2021, the judge held a second
the government had validly authorized and directed the
                                                                  hearing, heard argument, and ruled from the bench. She
contractor to perform. Under those circumstances, the Court
                                                                  identified the immunity issue as turning on “whether
held, “there is no liability on the part of the contractor for
                                                                  the travel by Mr. Zakka to Iran was authorized by the
executing [the government's] will.”5 Palladium and Abel           State Department.” (Zakka's attorney noted his continuing
argued that they could not be held liable to Zakka for their      disagreement with the court's narrow “framing of the issue.”)
actions in sending him to Iran because they too were acting
pursuant to valid governmental authorization and carrying out     The judge said the issue presented “more of a 12(b)(1) case ...
the government's will in doing so.                                because it is a claim about the jurisdiction of the [c]ourt,
                                                                  and an assertion of immunity has been viewed in that way.”
At a hearing on the motion to dismiss, the judge decided to       She then discussed the evidence submitted by the parties,
focus on appellees’ Yearsley claim. The judge said that “the      including the WAVE II project documents, the email between
derivative sovereign immunity issue is narrow and it could        Palladium and the State Department about the trip to Iran, and
be dispositive,” so it would potentially be an “efficient” way    the declarations of Zakka and Alami. The judge decided not
to resolve the motion to dismiss in view of the complexity        to “credit” the statements in those declarations that (the judge
of the other grounds presented. In the colloquy that ensued,      perceived) “contradict the hard evidence, [such as] the email
however, the parties disagreed over whether Yearsley applied      that says ‘Travel approval request, authorization granted.’ ”
in the circumstances of the present case. The judge eventually    The judge concluded that the WAVE II “proposal and the
expressed the view “that as long as the work done by the          agreement contemplate[ ] that IJMA3 staff, including Mr.
government contractor was done with the authorization of          Zakka, would travel to Iran.” She noted that the WAVE II



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Work Plan “also specifically refers to this September 15th           (FTCA),8 at least two express exceptions to that waiver — the
sustainability event in Iran and it says that the regional partner   discretionary function exception and the arising-in-a-foreign-
will implement it, referring to IJMA3.” In addition, the judge       country exception — appear to preserve the government's
said, the Cooperative Agreement “required that all travel be         immunity from suit for the State Department's approval of
approved by the State Department,” and the email exchange            Palladium's proposal to send him to Iran in connection with
in which Palladium sought and obtained that approval was
                                                                     the WAVE II project.9
“done in order to comply with” that agreement. The judge
found that the State Department's email authorized the travel;
                                                                     The FTCA excludes independent contractors from its
and based on the “specific statement that the travel is taken
at the organization's [and] the traveler's own risk,” the judge      coverage.10 Appellees argue, however, that, under the federal
also found that “the failure to specify additional security          common law concept of “derivative sovereign immunity” for
was authorized *326 by the State Department” too. In sum,            agents of the government, *327 their immunity from suit
the judge concluded, “based on the record that's before this         shields appellees from suit in the present case as well.
[c]ourt, his travel plans, including the lack of security or
specified security arrangements[,] were authorized by the            The concept of “derivative sovereign immunity” originated
State Department, and therefore ... Palladium is entitled to         in Yearsley, though that case did not use the term or base
invoke Derivative Sovereign Immunity.”                               its ruling on the sovereign immunity of the United States.11
                                                                     In Yearsley, landowners sued a construction company for
The judge said she was “inclined” to dismiss the case under          the erosion of 95 acres of their property caused by dikes
Rule 12(b)(1), but that even viewing the motion as one for           that the company had built on the Missouri River pursuant
summary judgment, she would grant it because there was               to a federal government contract to improve navigation.12
no evidence “sufficient to create a material issue of fact           The contractor's work “was all authorized and directed by
to contradict the very plain language in a binding contract          the government of the United States” pursuant to an Act
and a legally significant email which was required under the
                                                                     of Congress.13 The Court held that where the government's
contract for authorization.”
                                                                     “authority to carry out the project was validly conferred,
                                                                     that is, if what was done was within the constitutional
                                                                     power of Congress, [then] there is no liability on the part
III. Discussion                                                      of the contractor for executing its will.”14 In other words,
                                                                     as the Supreme Court subsequently described the holding of
We proceed as follows. First, we discuss the origin and
                                                                     Yearsley, a validly authorized government contractor “who
requirements of the doctrine that is commonly referred to as
                                                                     simply performed as the Government directed” is immune
“derivative sovereign immunity.” We next examine whether
a claim of this derivative immunity presents a question of           from suit for the consequences of such performance.15
the court's subject matter jurisdiction, or instead asserts an
affirmative defense. Lastly, we address whether appellees            [2]     [3]    [4]     [5] This so-called “derivative” immunity,
established that their claim of derivative sovereign immunity        “unlike the sovereign's, is not absolute.”16 “It applies only
entitled them to relief.                                             when a contractor takes actions that are ‘authorized and
                                                                     directed by the Government of the United States,’ and
                                                                     ‘performed pursuant to the Act of Congress’ authorizing the

A. Derivative Sovereign Immunity                                     agency's activity.”17 Thus, “the contractor must adhere to
                                                                     the government's instructions to enjoy derivative sovereign
 [1] The United States government itself is immune from              immunity; staying within the thematic umbrella of the work
suit in the courts of this country except when, and to the           that the government authorized is not enough to render
extent that, it has expressly waived its common law sovereign        the contractor's activities” immune from suit.18 Similarly,
immunity and consented to be sued.7 It is not contended, and         where the government does not “dictate[ ] exactly” how the
it does not appear, that the government has consented to be          contractor is to carry out its tasks or substantially constrain the
sued for the torts asserted in Zakka's complaint. Although           contractor's exercise of discretion in performing its authorized
the United States has waived its sovereign immunity from             responsibilities, the contractor generally is not immune from
certain types of tort claims in the Federal Tort Claims Act


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suit for how it exercises that discretion.19 As *328 the            company could not benefit from Yearsley immunity for its
First Circuit has explained, although Campbell-Ewald Co.            improper performance of the task.28
v. Gomez held derivative sovereign immunity unavailable
in a case where the contractor actually had violated the
government's explicit instructions,
                                                                    B. Yearsley Immunity Is an Affirmative Defense
  the Court at no point suggested that Government agents or
                                                                    Zakka argues that the Superior Court erred in treating the
  officers are entitled to protection under Yearsley so long
                                                                    claim of Yearsley immunity as a question of subject matter
  as they are not acting in violation of such instructions. ...
                                                                    jurisdiction. He asserts that the immunity is an affirmative
  [A]ny such notion would be implausible, given that
                                                                    defense. Appellees argue that the Superior Court was correct
  Government agents and officers may do all manner of
                                                                    because this type of immunity is based on the sovereign's
  things that are not in violation of any express instructions of
                                                                    immunity from suit. Because sovereign immunity deprives
  the Government but that have in no sense been “authorized
                                                                    the court of subject matter jurisdiction,29 they contend
  and directed” by the Government.[20]
                                                                    that “derivative sovereign immunity” should be treated as
Thus, “a contractor might avail itself of the government's
                                                                    jurisdictional too.
derivative immunity only where it acts pursuant to specific
directions from the government.”21 Yearsley immunity coversIf Yearsley immunity deprives the court of subject matter
“only those acts that agents of the government are expressly
                                                           jurisdiction, it may be asserted by a motion to dismiss
                                       22                  the complaint pursuant to Superior Court Civil Rule 12(b)
directed by the government to perform.”
                                                           (1), and “the court may conduct an independent review of
 [6]    [7] This means that a contractor claiming Yearsley the evidence submitted by the parties, including affidavits,
immunity from liability for a tortious act must establish  to resolve factual disputes concerning whether subject-
that the government specifically authorized and directed   matter jurisdiction exists.”30 If Yearsley immunity is not
it to perform the tortious act itself. Mere governmental   jurisdictional, however, it would be treated like other
acceptance or approval of a tortious act will not suffice  affirmative defenses to liability. In that case, the immunity
to vest a government contractor with derivative sovereign  claim could be asserted prior to trial by means of a Rule 12(b)
immunity if the government did not actually direct the     (6) motion to dismiss for failure to state a claim upon which
contractor to commit the tort.23 Nor does it suffice for a          relief can be granted, a Rule 12(c) motion for judgment on the
contractor to show only that the tortious act was within            pleadings, or a Rule 56 motion for summary judgment. But
the scope of the activity that the government authorized            when presented with any of those pretrial motions, the court
and directed it to do. In Cabalce v. Thomas E. Blanchard            does not resolve disputed issues of fact. If the court cannot
& Associates Inc., for example, the government had                  decide the motion as a matter of law on the pleadings and
seized fireworks and contracted with a private company to           any facts not in dispute, it must leave any material disputed
destroy them.24 Employees of the company were fatally               facts regarding the availability of an affirmative defense for
injured while carrying out that assignment, and their family        resolution at trial.31
members sued the company under various tort theories.25
The *329 company's agreement with the government                     *330 Whether Yearsley immunity is jurisdictional therefore
required all destruction of the fireworks to be “coordinated        affects our review on appeal. If the Superior Court properly
and approved” by the responsible government agency's                upheld the claim of immunity under Rule 12(b)(1), we
                                                                    owe deference to its factual determinations supporting that
“designated representative.”26 The record nonetheless lacked
evidence of the government's “control or supervision over           decision.32 But our review is less deferential if the question
the handling of the seized fireworks” or its involvement            is whether the judge properly granted summary judgment to

“in developing the destruction plan itself.”27 The Ninth            appellees.33
Circuit concluded that without proof that the company carried
out the destruction of the fireworks in accordance with             Neither Yearsley nor Campbell-Ewald explicitly decided
specific instructions or supervision from the government, the       whether derivative sovereign immunity is jurisdictional or
                                                                    an affirmative defense. It does not appear that this question
                                                                    of jurisdiction was posed in either of those cases. However,


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we think each decision strongly implied that the immunity            as the Supreme Court has said, “[w]here the government has
is not jurisdictional in nature. In Yearsley, no question of         directed a contractor to do the very thing that is the subject of
jurisdiction was raised or discussed; the case came to the           the claim, we have recognized this as a special circumstance
Court after a trial,34 and the Court focused on the merits           where the *332 contractor may assert a defense.”43 Thus,
question of the contractor's liability. The Yearsley Court did       like other qualified immunities, Yearsley immunity is not a
not even mention sovereign immunity, let alone hold that             limitation on the court's subject matter jurisdiction; it is “an
such immunity from suit extended to a government contractor.         affirmative defense that must be pleaded by a defendant”44
In Campbell-Ewald, where the trial court had decided                 and supported by the record before the court.
the claim of derivative immunity on summary judgment
(and not as a question of subject matter jurisdiction), the
Supreme Court flatly rejected “the notion that private persons
performing Government work acquire the Government's                  C. Appellees Were Not Entitled to Yearsley Immunity

embracive immunity.”35 The Court explicitly held that federal         [9] [10] Since Yearsley immunity is an affirmative defense,
contractors do not “share the Government's unqualified               it was appropriate for the Superior Court to consider
immunity from liability and litigation.”36 It treated the claim      appellees’ motion, in the alternative, under Rule 12(b)(6)
of derivative sovereign immunity as a typical qualified              rather than Rule 12(b)(1) and, because the court considered
immunity claim asserted as an affirmative defense, not as            matters outside of the pleadings, to convert the motion to one
a basis for depriving the court of jurisdiction.37 And the           for summary judgment.45 “This court reviews a trial court's
Court reviewed the Yearsley immunity issue under Civil               grant of a motion for summary judgment de novo.”46 In doing
Rule 56 standards, stating that “[a]t the pretrial stage of          so, we may not defer to the Superior Court's view of the
litigation, we construe the record in a light favorable to the       evidence. Rather, as the Supreme Court said in Campbell-
party seeking to avoid summary disposition.”38 That the              Ewald, we must “construe the record in a light favorable to
Court made no mention of any jurisdictional issue is “telling        the party seeking to avoid summary disposition.”47 Summary
because [federal] courts, including the Supreme Court, ‘have         judgment is proper if “there is no genuine dispute as to any
an independent obligation to determine whether subject-              material fact and the movant is entitled to judgment as a matter
matter jurisdiction exists, even in the absence of a challenge
                                                                     of law.”48
                     39
from any party.’ ”
                                                                     As we have said, a defendant claiming Yearsley immunity
 [8] Most federal courts that have explicitly addressed the          must establish that the government validly authorized and
issue have concluded that Yearsley immunity does not relate          directed the allegedly tortious conduct at issue. It is not
to the court's subject matter jurisdiction, but rather is an         enough for the defendant merely to show that the conduct did
affirmative defense.40 The *331 United States itself has             not violate the government's instructions and was undertaken
consistently taken the same position in litigation.41 We agree       as part of a government-approved program. The immunity
with the view that Yearsley immunity is best understood as           issue in this case therefore boils down to whether appellees
an affirmative defense, not as a jurisdictional bar. Simply put,     have demonstrated there were no genuine factual disputes
while Yearsley immunity may be referred to as “derivative” of        about whether the State Department authorized and directed
sovereign immunity, it “does not confer sovereign immunity           Palladium to send Zakka to Iran as part of the WAVE II
                                                                     project, and whether it authorized and directed Palladium to
on contractors.”42 The immunity of the sovereign from
                                                                     do so without warning him of the risks to his safety or taking
suit is uniquely jurisdictional; it is grounded in the notion
                                                                     appropriate precautions and measures to protect him on the
(and policy) that the sovereign is not subject at all to
                                                                     trip.
the authority of its courts without its consent. Yearsley
immunity furnishes no such exemption; it does not deprive
                                                                      [11] At the outset, we note that the Superior Court made
the courts of the power to decide any claims asserted against
                                                                     no finding that the State Department directed Palladium to
government contractors. Rather, Yearsley immunity merely
                                                                     do any of those things. The court found it undisputed that
provides government contractors with a legal justification, if
                                                                     the State Department authorized Palladium to proceed with
they can establish its preconditions, for conduct that otherwise
                                                                     the planned travel at government expense pursuant to the
might subject them to civil liability in the courts. Specifically,



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                                                                  The Cooperation Agreement is virtually silent on the subject;
Cooperation Agreement.49 But the court did not find that the
                                                                  Palladium's Work Plan and travel request did not mention
State Department directed Palladium to go ahead with that
                                                                  it; and the State Department declined to weigh in on the
travel. In addition, the court *333 made no finding that the
                                                                  question of security, pointedly telling Palladium only that the
State Department authorized Palladium to proceed without
                                                                  proposed travel would be undertaken at Palladium's and the
warning Zakka of the danger he would be in if he traveled to
                                                                  traveler's “own risk.” The record is devoid of any significant
Iran under Palladium's (undisclosed) auspices.50                  exchange between Palladium and the State Department
                                                                  regarding the security arrangements that Palladium would
The procedural evolution of this case curtailed the               make; so far as appears, those arrangements were left to
development of the factual record, and we recognize that          Palladium's sole discretion — which means Palladium is not
further discovery and factual development on remand may           entitled to derivative sovereign immunity for their absence or
lead to a different understanding of the material facts. On the   insufficiency.
existing record, however, we conclude that facts material to
the claim of Yearsley immunity and the reasonable inferences      The Superior Court judge reasoned that because the State
that could be drawn from those facts are indeed genuinely         Department approved Palladium's travel request, it implicitly
disputed, meaning appellees were not entitled to summary          approved “the failure to specify additional security,” and
judgment on their derivative immunity defense. First, there       that this meant the State Department authorized “the lack of
was uncontradicted evidence that the State Department did         security or specified security arrangements.” With respect,
not direct Palladium to proceed with the proposed travel to       we think this logic tenuous. The record does not establish
Iran for the September conference in Tehran. In response          that the State Department even took notice of Palladium's
to Palladium's request for approval of the travel, the State      “failure to specify” its security arrangements, or if it did,
Department informed Palladium that “[t]his travel is not          that the State *334 Department realized no arrangements
required under the terms of the project, but is undertaken        had been or would be made. So far as appears, the State
at the organization's and traveler's own risk.” That is not       Department asked no questions and obtained no information
a directive from the State Department to proceed; it is an        about security for the proposed travel. If any inference
unambiguous disavowal of such a directive. That the State         can be drawn from the apparent lack of communication
Department allowed Palladium to go ahead with the travel at       on the subject, it is that the State Department either was
government expense does not mean it instructed Palladium to       oblivious to the question or assumed Palladium was making
do so. In fact, we can say on the record as it now stands that    appropriate security arrangements (as Palladium had assured
the State Department clearly did not so instruct.                 the State Department it would do, in its application for
                                                                  the WAVE II project grant) and was satisfied to leave the
Second, there was no evidence in the record that the State        matter to Palladium's discretion. This cannot be construed as
Department authorized or directed Palladium to proceed
                                                                  governmental authorization of a lack of such arrangements.51
without warning Zakka of the danger. So far as appears, the
subject of warnings was never mentioned in any exchange
between Palladium and the State Department. Appellees have
not claimed that they warned Zakka of the risks, and they have    IV. Conclusion
not claimed that their failure to do so was ever authorized or
                                                                  For the foregoing reasons, appellees were not entitled
directed by the State Department.
                                                                  to summary judgment based on their claim of derivative
                                                                  sovereign immunity. We reverse the judgment of the Superior
Third, we perceive no evidence in the record that the
                                                                  Court and remand for further proceedings consistent with this
State Department approved Palladium's lack of security
                                                                  opinion.
arrangements for the planned travel to Iran. Although
the Cooperation Agreement provided for “substantial”
involvement by the State Department, that involvement did         All Citations
not — so far as appears — extend to any discussion or
review, let alone requirements or approval, of the procedures     298 A.3d 319
Palladium would follow to protect persons traveling to Iran.




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Footnotes
*      Judge Glickman was an Associate Judge at the time of argument.

1      309 U.S. 18, 60 S.Ct. 413, 84 L.Ed. 554 (1940).

2      Nadia Alami, Palladium's WAVE Program Director, submitted a declaration under penalty of perjury in the Superior Court
       proceedings on Palladium's motions. In it she averred that she and Zakka also “had conversations with Ms. Hadjilou
       about the proposed travel” to the September conference, in which Ms. Hadjilou similarly advised them “that the travel to
       Iran was ultimately the implementer's [i.e., Palladium's] choice and that Palladium would be undertaking the travel at its
       own risk.” Alami explained in her declaration that Palladium needed the State Department's approval of the travel only
       in order to use federal funds.

       Zakka also submitted a declaration under penalty of perjury in connection with Palladium's motions. He, too, averred
       that in meetings he attended with State Department officials (including Ms. Hadjilou and her superiors), and in follow-
       up conversations with them, they had said that travel to Iran was not a requirement of the WAVE II program, and that
       “it was ultimately Palladium's decision” whether to engage in such travel. In Zakka's experience, the State Department's
       “clearance” and authorization merely meant that the travel to Iran would not violate U.S. government policy and that
       Palladium could use federal funds (granted under the federal assistance award) to pay for it.

       Alami's and Zakka's averments appear not to have been disputed in the proceedings below.

3      In the declaration he submitted in the proceedings below, Zakka further averred that Palladium had not implemented
       any of the security measures it said in its application that it “could” adopt. This averment appears to be uncontradicted
       in the record as it presently stands.

4      309 U.S. 18, 60 S.Ct. 413, 84 L.Ed. 554 (1940).

5      See id. at 20-21, 60 S.Ct. 413.

6      In the discovery process that then occurred, Zakka believed that appellees’ document production was deficient. After
       the parties conferred and did not resolve the issue, Zakka moved to compel production of documents relating to (1)
       security procedures referenced in Palladium's original application for funding for the WAVE II project, and (2) Palladium's
       communications with the State Department after Zakka's abduction. The court eventually denied this motion, as well as a
       subsequent request by Zakka to take additional discovery. Zakka has appealed these rulings, but given the view we take
       of his appeal on the merits, we find it unnecessary to address them. The litigation will proceed and discovery will resume.

7      See, e.g., United States v. Mitchell, 463 U.S. 206, 212, 103 S.Ct. 2961, 77 L.Ed.2d 580 (1983) (“It is axiomatic that the
       United States may not be sued without its consent and that the existence of consent is a prerequisite for jurisdiction.”);
       Stevens v. ARCO Mgmt. of Wash. D.C., Inc., 751 A.2d 995, 999 (D.C. 2000) (collecting cases).

8      See 28 U.S.C. §§ 1346(b)(1), 2674.

9      Appellees assert that sovereign immunity would apply under the “discretionary function” exception to the government's
       waiver of immunity from suit, see id. § 2680(a), because the State Department's decisions about travel and safety
       requirements for international programs, including its supervision over the implementation of those requirements, were
       inherently discretionary decisions that reflected policy judgments. See, e.g., United States v. S.A. Empresa de Viacao
       Aerea Rio Grandense (Varig Airlines), 467 U.S. 797, 819-20, 104 S.Ct. 2755, 81 L.Ed.2d 660 (1984) (holding that “the
       extent to which [an agency] will supervise the safety procedures of private individuals” using a government program, and
       the “policy judgments” made in designing that program, constitute discretionary functions under § 2680(a)). In addition,
       the exception for “[a]ny claim arising in a foreign country,” 28 U.S.C. § 2680(k), applies to claims, like those asserted
       by Zakka here, where the “injury or harm occur[red] in a foreign country.” Sosa v. Alvarez-Machain, 542 U.S. 692, 704,
       124 S.Ct. 2739, 159 L.Ed.2d 718 (2004).

10     See 28 U.S.C. § 2671.



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11     In fact, the Court assumed that the United States might be liable to pay compensation to the plaintiffs under the Takings
       Clause of the Fifth Amendment.

12     Yearsley v. W.A. Ross Constr. Co., 309 U.S. 18, 19-20, 60 S.Ct. 413, 84 L.Ed. 554 (1940).

13     Id. at 20, 60 S.Ct. 413.

14     Id. at 20-21, 60 S.Ct. 413.

15     Campbell-Ewald Co. v. Gomez, 577 U.S. 153, 167, 136 S.Ct. 663, 193 L.Ed.2d 571 (2016); see also id. at 166, 136 S.Ct.
       663 (holding that government contractor in that case was not entitled to Yearsley immunity because it had “violate[d] both
       federal law and the Government's explicit instructions”).

16     Id. at 166, 136 S.Ct. 663.

17     Am. Fed'n of Gov't Emps. v. Off. of Pers. Mgmt. (In re U.S. Off. of Pers. Mgmt. Data Sec. Breach Litig.), 928 F.3d 42, 69
       (D.C. Cir. 2019) (quoting Campbell-Ewald, 577 U.S. at 167, 136 S.Ct. 663). “After all, the driving purpose of derivative
       sovereign immunity is to prevent the contractor from being held liable when the government is actually at fault but is
       otherwise immune from liability.” Id. at 70 (internal quotation marks omitted).

18     Metzgar v. KBR, Inc. (In re KBR, Inc., Burn Pit Litig.), 744 F.3d 326, 345 (4th Cir. 2014).

19     Id. at 346; see also Posada v. Cultural Care, Inc., 66 F.4th 348, 358 (1st Cir. 2023) (“[W]hile Yearsley recognizes that an
       ‘agent or officer’ may enjoy protection from liability when ‘authorized and directed’ by the Government to take the action
       for which it is alleged to be liable, Yearsley does not hold that an ‘agent or officer’ necessarily also enjoys protection from
       liability for not taking other actions that the Government left it free to take while acting as it had been so ‘authorized and
       directed.’ ”); Cabalce v. Thomas E. Blanchard & Assocs. Inc., 797 F.3d 720, 732 (9th Cir. 2015) (“[D]erivative sovereign
       immunity, as discussed in Yearsley, is limited to cases in which a contractor ‘had no discretion ... and completely followed
       government specifications.’ ... ‘Nothing in Yearsley extended immunity to ... contractors exercising a discretionary
       governmental function.’ ” (alteration and citation omitted)); cf. Taylor Energy Co., L.L.C. v. Luttrell, 3 F.4th 172, 174,
       176-77 (5th Cir. 2021) (applying derivative sovereign immunity where the government directed the contractor to design
       the project, approved the initial design and variations as it changed “throughout the life of the project,” “routinely met”
       with the contractor, memorialized the meetings, including documenting when it approved and monitored the contractor's
       progress, and approved “next steps in the project” before they were taken).

20     Posada, 66 F.4th at 359 (citation omitted).

21     Broidy Cap. Mgmt. LLC v. Muzin, 12 F.4th 789, 803 (D.C. Cir. 2021).

22     In re U.S. Off. of Pers. Mgmt. Data Sec. Breach Litig., 928 F.3d at 80 (Williams, J., concurring and dissenting in part).

23     See, e.g., McCue v. City of New York (In re World Trade Ctr. Disaster Site, Litig.), 521 F.3d 169, 197 (2d Cir. 2008)
       (“[I]f the government merely accepted, without substantive review or enforcement authority, decisions made by an entity,
       that entity would not be entitled to derivative discretionary function immunity. Furthermore, derivative immunity will not
       preclude recovery for injuries occasioned by violation of state statutes if the entity could have abided by those statutes
       while implementing the agency's specifications.” (citation omitted)). The plaintiffs in McCue — construction workers,
       firefighters, police, and others present during the cleanup of the World Trade Center after the September 11, 2001, terrorist
       attacks — sued the government and its contractors for, among other things, respiratory injuries that they attributed to
       flawed respirator policies implemented by the contractors. If the government simply “rubber stamped” those policies, the
       Second Circuit said, the contractors “would not be entitled to derivative immunity.” Id. at 198.

24     797 F.3d at 723.

25     Id. at 724-25.

26     Id. at 724.




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27     Id. at 728.

28     See id. at 732; see also, e.g., Broidy Cap. Mgmt. LLC v. Muzin, 12 F.4th 789, 803 (D.C. Cir. 2021) (failure to show
       that the foreign government “specifically ordered” the defendants “to participate in a scheme to hack and distribute [the
       plaintiff]’s private emails” meant derivative sovereign immunity analogous to Yearsley immunity would not be available);
       Posada v. Cultural Care, Inc., 66 F. 4th 348, 361 (1st Cir. 2023) (rejecting the argument that the government's omission
       in the contractor's agreement of a reference to compliance with labor laws meant the government approved or directed
       noncompliance with those laws); cf. Butters v. Vance Int'l, Inc., 225 F.3d 462, 466-67 (4th Cir. 2000) (concluding that
       where the contractor followed the foreign government's specific order not to promote a particular individual, the contractor
       was entitled to derivative sovereign immunity under the Foreign Sovereign Immunities Act).

29     FDIC v. Meyer, 510 U.S. 471, 475, 114 S.Ct. 996, 127 L.Ed.2d 308 (1994) (“Sovereign immunity is jurisdictional in
       nature.”).

30     Matthews v. Automated Bus. Sys. & Servs., Inc., 558 A.2d 1175, 1179 (D.C. 1989).

31     See, e.g., Anderson v. Ford Motor Co., 682 A.2d 651, 654 (D.C. 1996) (“We cannot, nor can the trial court, ‘resolve issues
       of fact or weigh evidence at the summary judgment stage.’ ‘Credibility determinations, the weighing of the evidence, and
       the drawing of legitimate inferences from the facts are jury functions, not those of [the] judge. ... The evidence of the
       non-movant is to be believed, and all justifiable inferences are to be drawn in his favor.’ ” (alteration in original) (citation
       omitted)).

32     See Monteilh v. AFSCME, AFL-CIO, 982 A.2d 301, 302 (D.C. 2009) (explaining that while the “issue of subject matter
       jurisdiction is a question of law” subject to review de novo, if a “factual inquiry is necessary before the trial court may
       determine whether it has jurisdiction,” this court reviews the factual determination for clear error).

33     MobilizeGreen, Inc. v. Cmty. Found. for Cap. Region, 267 A.3d 1019, 1024 (D.C. 2022) (reviewing the trial court's grant
       of summary judgment de novo, which includes “an independent review of the record”).

34     W.A. Ross Constr. Co. v. Yearsley, 103 F.2d 589, 590, 593 (8th Cir. 1939), aff'd, 309 U.S. 18, 60 S.Ct. 413, 84 L.Ed.
       554 (1940).

35     Campbell-Ewald Co. v. Gomez, 577 U.S. 153, 166, 136 S.Ct. 663, 193 L.Ed.2d 571 (2016).

36     Id.

37     Id. at 167-68, 136 S.Ct. 663.

38     Id. at 168, 136 S.Ct. 663.

39     Spurlin v. Air & Liquid Sys. Corp., 568 F. Supp. 3d 1050, 1054 (S.D. Cal. 2021) (quoting Arbaugh v. Y&H Corp., 546 U.S.
       500, 514, 126 S.Ct. 1235, 163 L.Ed.2d 1097 (2006)).

40     See, e.g., Ackerson v. Bean Dredging LLC, 589 F.3d 196, 207 (5th Cir. 2009) (concluding Yearsley is not jurisdictional
       because it “does not discuss sovereign immunity or otherwise address the court's power to hear the case”); Taylor Energy
       Co., L.L.C. v. Luttrell, 3 F.4th 172, 175 (5th Cir. 2021) (“Yearsley immunity is an affirmative defense, and [the defendant]
       bore the burden of proof on the defense at trial.”); Adkisson v. Jacobs Eng'g Grp., Inc., 790 F.3d 641, 646-47 (6th Cir.
       2015) (following the Fifth Circuit's reasoning and adding that Yearsley is “closer in nature to qualified immunity for private
       individuals under government contract, which is an issue to be reviewed on the merits rather than for jurisdiction”); New
       York v. Pa. Higher Educ. Assistance Agency, No. 19 CIV. 9155 (ER), 2020 WL 2097640 at *7, 2020 U.S. Dist. LEXIS
       77655 at *16-18 (S.D.N.Y. May 1, 2020) (recognizing the Second Circuit has not weighed in directly but that it “has
       treated the contractor defense outlined in Boyle v. United Technologies Corp., 487 U.S. 500, 108 S.Ct. 2510, 101 L.Ed.2d
       442 (1988), which also traces its origins to Yearsley, ... as a defense on the merits, rather than a jurisdictional bar” and
       extending that conclusion to Yearsley immunity); Harris v. Kellogg, Brown & Root Servs., Inc., No. CV 08-563, 2016
       WL 4720058, at *1, 2016 U.S. Dist. LEXIS 121859, at *2-3 (W.D. Pa. Sept. 9, 2016) (agreeing with courts holding that
       Yearsley is a defense and recognizing that its conclusion is “consistent with Third Circuit precedent” because “qualified



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       immunity must be treated as an affirmative defense challenging the merits of the claim”); Rouse v. BBC AF Mgmt./Dev.,
       LLC, No. CIV-21-326-F, 2022 WL 2079887 at *2, 2022 U.S. Dist. LEXIS 103197 at *3 (W.D. Okla. June 9, 2022) (noting
       that the “Tenth Circuit has not decided whether Yearsley immunity is jurisdictional” but finding the Fifth and Sixth Circuits
       “more persuasive”). But see Cunningham v. Gen. Dynamics Info. Tech., Inc., 888 F.3d 640, 650 (4th Cir. 2018) (“[T]he
       Yearsley doctrine operates as a jurisdictional bar to suit and not as a merits defense to liability.”).

41     See, e.g., United States’ Statement of Interest at 6, Clover v. Camp Pendleton & Quantico Hous. LLC, 525 F. Supp. 3d
       1140 (S.D. Cal. 2021) (No. 20-cv-567-LAB-WVG) (“Defendants argue that they are entitled to dismissal under Fed. R. Civ.
       P. 12 (b)(1) because the Court lacks subject matter jurisdiction based on derivative sovereign immunity from litigation.
       Derivative sovereign immunity to litigation does not exist. Rather, Defendants at best could argue they are entitled to
       a privilege shielding them from liability under the factual circumstances of this case.”); Brief for the United States as
       Amicus Curiae at 11, CACI Premier Tech., Inc. v. Al Shimari,141 S. Ct. 2850 (2021) (No. 19-648) (“[W]hen a government
       contractor acting as an agent of the government exercises a validly delegated privilege, the contractor is not immune
       from suit for unlawful conduct; rather, the contractor is protected from liability only to the extent—and only because—it is
       acting lawfully.”); Brief for the United States as Amicus Curiae at 7, Posada v. Cultural Care, Inc., 66 F.4th 348 (1st Cir.
       2023) (No. 21-1676) (“[T]he Yearsley doctrine affords private entities the opportunity to show that they cannot be held
       liable because they lawfully exercised lawfully delegated authority.”).

42     United States ex rel. Ali v. Daniel, Mann, Johnson & Mendenhall, 355 F.3d 1140, 1146-47 (9th Cir. 2004).

43     Corr. Servs. Corp. v. Malesko, 534 U.S. 61, 74 n.6, 122 S.Ct. 515, 151 L.Ed.2d 456 (2001) (emphasis added).

44     See Harlow v. Fitzgerald, 457 U.S. 800, 815, 102 S.Ct. 2727, 73 L.Ed.2d 396 (1982); see also Nevada v. Hicks, 533 U.S.
       353, 373, 121 S.Ct. 2304, 150 L.Ed.2d 398 (2001) (“Without so much as a citation (none is available) the concurrence
       declares the qualified immunity inquiry to be part of the jurisdictional inquiry, thus bringing it within the ken of the federal
       court at the outset of the case. ... There is no authority whatever for the proposition that absolute- and qualified-immunity
       defenses pertain to the court's jurisdiction ....”).

45     See Super. Ct. Civ. R. 12(d).

46     Thurman v. District of Columbia, 282 A.3d 564, 572 (D.C. 2022).

47     Campbell-Ewald Co. v. Gomez, 577 U.S. 153, 168, 136 S.Ct. 663, 193 L.Ed.2d 571 (2016).

48     Super. Ct. Civ. R. 56(a)(1).

49     As to the validity of that authorization, Zakka does not dispute that Congress had constitutionally conferred on the State
       Department the authority to carry out the WAVE II project through grantees like Palladium, or that the State Department
       lawfully could have authorized the travel to Iran for the purposes identified by Palladium as part of that project.

50     As to the court's finding that the State Department knowingly approved the proposed travel despite “the lack of security
       or specified security arrangements,” we conclude that finding lacks support in the record, as we explain below.

51     See In re U.S. Off. of Pers. Mgmt. Data Sec. Breach Litig., 928 F.3d 42, 70 (D.C. Cir. 2019) (concluding that the “sovereign
       immunity well from which [the contractor] seeks to draw has run dry” because of its “inability to point to a contractual
       provision or other [government] direction authorizing or directing the very gaps in security protections over which [plaintiffs]
       are suing”).



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